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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,
                                                     Case No. 4:20-cv-00957-SDJ
 v.
                                                     Hon. Sean D. Jordan
 Google LLC,

                        Defendants.

                     PLAINTIFFS’ POSITION ON A SPECIAL MASTER

       Plaintiff States (the “States”) respectfully submit the following in response to

the Court’s questions regarding the appointment of a Special Master. See Dkt. 187.

       First, the States agree that a Special Master should be appointed to resolve

discovery issues. Given the complex issues in this case, the Court would need to

expend considerable time and effort to resolve all discovery issues in a timely and

effective way.     As an example, Google has listed nearly 500,000 entries on 16

privilege logs, many of which the States intend to challenge. Appointing a Special

Master would greatly assist the Court in resolving discovery issues effectively and

timely. See Fed. R. Civ. Proc. 53(a)(1)(C). The States have outlined various issues

they intend to raise with the Special Master in their Discovery Report. See Dkt. 176. 1

       Second, the States propose that the Special Master’s authority be limited to


1 These issues include: States’ Document Requests and Google’s Document Productions (including

productions of relevant documents produced or provided as evidence/testimony in other cases, linked
documents, production of internal chats, data production related to relevant auction and claim
information, source code production/review); Google’s Privilege Logs/Privilege Assertions (including
preservation and production of chats, text messages, etc.); States’ Discovery Responses and
Productions; and other discovery issues that may arise during the discovery period that the Court
believes is best suited for a Special Master.


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resolving discovery disputes.          The States request that the Special Master hold

standing discovery hearings every two weeks on a set day; that each party submit

discovery disputes three (3) days before the discovery hearing; that the parties’ initial

written submissions be limited to three (3) pages (not including any appendices or

attachments), and that any response be limited to two (2) pages; that if no discovery

issues are raised, the hearing be removed from the schedule. The Special Master will

be able to expeditiously resolve the discovery issues that are expected to arise (and

that have already arisen).

        Third, the States propose that the Special Master’s decisions governing the

discovery issues submitted to the Special Master be final under Fed. R. Civ. Proc.

53(f)(3)(B) and not subject to objection, except for issues relating to privilege, privacy,

constitutional challenges, and an individual State’s statutory constraints/authority. 2

This process will limit delay tactics and ensure the case can proceed to trial promptly.

Should the Court decline to order that discovery issues raised with the Special Master

are final and not reviewable by the Court, the States propose in the alternative that

discovery issues be reviewed only for clear error, and that any objection be lodged

within seven (7) days. With respect to issues relating to privilege, privacy, and

constitutional challenges, and Statutory authority, the states propose that the Court

review the Special Master’s determinations de novo, but that the parties must raise




2 With regard to the interpretation of a State’s statutory authority/constraints related to discovery,

there are a handful of scenarios related to sovereign states that could warrant an appeal to Your
Honor. For example, if a Special Master determines a State has to obtain discovery from an agency it
does not represent or does not have custody or control over, resulting in a State needing institute
litigation against that agency, such a scenario may justify input from Judge Jordan or a Magistrate.


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any objection within seven (7) days.

       Fourth, the States have not been able to agree with Google on a list of suitable

Special Master candidates. The States propose that one of the following persons be

appointed as Special Master:

       Hon. William Royal Furgeson Jr. 3, WDTX, NDTX

       Hon. Tomas B. Russell, WDKY

       Karl Bayer, Austin Texas

None of the candidates proposed above are subject to disqualification under Fed. R.

Civ. Proc. 53(a)(2).

                                         CONCLUSION

       Appointing a Special Master will greatly assist the parties in resolving

discovery disputes. The States request that the Court appoint one of its proposed

candidates or a qualified candidate of the Court’s choosing.

Dated: December 22, 2023

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3 Judge Furgeson is currently serving as a Master in Chancery for a Texas state court action in

Austin, Texas and The Lanier Law Firm represents plaintiffs in that case. Also, counsel for the
States, Mr. DeRose was a judicial law clerk for Judge Furgeson in the 2007-2008 session. Both of
these points have been disclosed to Google’s counsel and neither is grounds for disqualification.


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                               CERTIFICATE OF SERVICE

       I certify that on December 22, 2023, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                   /s/ W. Mark Lanier
                                                   W. Mark Lanier




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